           Case MDL No. 3010 Document 248 Filed 04/14/23 Page 1 of 14




                            UNITED STATES JUDICIAL PANEL
                                         on
                             MULTIDISTRICT LITIGATION


                              NOTICE OF HEARING SESSION


Pursuant to the order of the United States Judicial Panel on Multidistrict Litigation filed today,
notice is hereby given that a hearing session has been scheduled to consider various matters under
28 U.S.C. § 1407.

DATE OF HEARING SESSION:                  May 25, 2023

LOCATION OF HEARING SESSION: James A. Byrne U.S. Courthouse
                             Ceremonial Courtroom, Ground Floor
                             601 Market Street
                             Philadelphia, Pennsylvania 19106

TIME OF HEARING SESSION: In those matters designated for oral argument, counsel
presenting oral argument must be present at 8:00 a.m. in order for the Panel to allocate the
amount of time for oral argument. Oral argument will commence at 9:30 a.m.
SCHEDULED MATTERS: Matters scheduled for consideration at this hearing session are listed
on the enclosed Hearing Session Order and Schedule of Matters for Hearing Session.

       •       Section A of this Schedule lists the matters designated for oral argument and
               includes all actions encompassed by Motion(s) for Transfer filed pursuant to
               Rules 6.1 and 6.2. Any party waiving oral argument pursuant to Rule 11.1(d)
               need not attend the Hearing Session.
       •       Section B of this Schedule lists the matters that the Panel has determined to
               consider without oral argument, pursuant to Rule 11.1(c). Parties and
               counsel involved in these matters need not attend the Hearing Session.

ORAL ARGUMENT:
       •       The Panel has returned to its regular practice of in-person oral argument.
               Argument time will be allocated when counsel check in at 8:00 a.m. the
               morning of the Hearing. The Panel shall notify the parties if there is any change
               to these procedures.
                Case MDL No. 3010 Document 248 Filed 04/14/23 Page 2 of 14




                                                  -2-


        •         The Panel carefully considers the positions advocated in filings with the Panel when
                  it allocates time to attorneys presenting oral argument. The Panel, therefore,
                  expects attorneys to adhere to those positions including those concerning an
                  appropriate transferee district. Any change in position should be conveyed to Panel
                  staff before the beginning of oral argument. Where an attorney thereafter advocates
                  a position different from that conveyed to Panel staff, the Panel may reduce the
                  allotted argument time and decline to hear further from that attorney.
        •         The Panel expects attorneys presenting oral argument to be prepared to discuss
                  what steps they have taken to pursue alternatives to centralization including, but
                  not limited to, engaging in informal coordination of discovery and scheduling, and
                  seeking Section 1404 transfer of one or more of the subject cases.
            •     Please review and plan to abide by the Eastern District of Pennsylvania’s
                  requirements regarding public access and masks or face coverings in light of
                  COVID-19, which can be found on the court’s website at
                  https://www.paed.uscourts.gov.
            •     A transcript of the oral argument will be filed in each docket when it becomes
                  available. Parties who wish to order a transcript may obtain the court reporter’s
                  contact information from the court reporter at the hearing or from the Panel at 202-
                  502-2800 following the hearing.
For those matters listed on Section A of the Schedule, the "Notice of Presentation or Waiver of
Oral Argument" must be filed in this office no later than May 1, 2023. The
procedures governing Panel oral argument (Panel Rule 11.1) are attached. The Panel strictly
adheres to these procedures.


                                                        FOR THE PANEL:



                                                        John W. Nichols
                                                        Clerk of the Panel


cc: Clerk, United States District for the Eastern District of Pennsylvania
            Case MDL No. 3010 Document 248 Filed 04/14/23 Page 3 of 14




                             UNITED STATES JUDICIAL PANEL
                                          on
                              MULTIDISTRICT LITIGATION


                                  HEARING SESSION ORDER


       The Panel issues the following orders in connection with its next hearing session,

        IT IS ORDERED that on May 25, 2023, the Panel will convene a hearing session in
Philadelphia, Pennsylvania, to consider the matters on the attached Schedule under 28 U.S.C.
§ 1407.

        IT IS FURTHER ORDERED that the Panel may, on its own initiative, consider transfer of
any or all of the actions in those matters to any district or districts.

        IT IS FURTHER ORDERED that the Panel will hear oral argument on the matters listed
on Section A of the attached Schedule, unless the parties waive oral argument or unless the Panel
later decides to dispense with oral argument pursuant to Panel Rule 11.1(c).

       IT IS FURTHER ORDERED that the Panel will consider without oral argument the
matters listed on Section B of the attached Schedule pursuant to Panel Rule 11.1(c). The Panel
reserves the prerogative, on any basis including submissions of parties pursuant to Panel Rule
11.1(b), to designate any of those matters for oral argument.

        IT IS FURTHER ORDERED that the Clerk of the Judicial Panel on Multidistrict
Litigation shall direct notice of this hearing session to counsel for all parties involved in the
matters on the attached Schedule.


                               PANEL ON MULTIDISTRICT LITIGATION



                                   __________________________________________
                                                Karen K. Caldwell
                                                     Chair

                                  Nathaniel M. Gorton          Matthew F. Kennelly
                                  David C. Norton              Roger T. Benitez
                                  Dale A. Kimball              Madeline Cox Arleo
            Case MDL No. 3010 Document 248 Filed 04/14/23 Page 4 of 14



                    SCHEDULE OF MATTERS FOR HEARING SESSION
                        May 25, 2023 −− Philadelphia, Pennsylvania


                                  SECTION A
                    MATTERS DESIGNATED FOR ORAL ARGUMENT


(This schedule contains only those civil actions listed in the Schedule(s) of Actions submitted
with the docketed motion(s) for transfer. See Panel Rules 6.1 and 6.2. In the event these dockets
are centralized, other actions of which the Panel has been informed may be subject to transfer
pursuant to Panel Rule 7.1.)


MDL No. 3073 − IN RE: T−MOBILE 2022 CUSTOMER DATA SECURITY BREACH
               LITIGATION

  Motion of plaintiff Stephan Clark to transfer the following actions to the United States District
Court for the Western District of Washington or, in the alternative, the United States District
Court for the Western District of Missouri:

               Central District of California

      BAUGHMAN v. T−MOBILE US, INC., C.A. No. 2:23−00477
      MUNOZ v. T−MOBILE US, INC., ET AL., C.A. No. 2:23−00766

               Northern District of California

      HART v. T−MOBILE U.S. INC., C.A. No. 3:23−00436

               Northern District of Florida

      CORTAZAL v. T−MOBILE US, INC., C.A. No. 3:23−01220

               District of Kansas

      CORKINS, ET AL. v. T−MOBILE US, INC., C.A. No. 2:23−02031

               Western District of Missouri

      LYNCH v. T−MOBILE US, INC., C.A. No. 4:23−00052

               District of New Jersey

      GONZALEZ v. T−MOBILE US, INC., C.A. No. 2:23−00367

               District of South Carolina

      FRIERSON v. T−MOBILE US, INC., ET AL., C.A. No. 4:23−00438
            Case MDL No. 3010 Document 248 Filed 04/14/23 Page 5 of 14



               Western District of Washington

      CLARK v. T−MOBILE US, INC., ET AL., C.A. No. 2:23−00103
      FERGUSON, ET AL. v. T−MOBILE USA, INC., C.A. No. 2:23−00142
      DOLLSON, ET AL. v. T−MOBILE US, INC., ET AL., C.A. No. 2:23−00172

MDL No. 3074 − IN RE: BPS DIRECT, LLC, AND CABELA'S, LLC, WIRETAPPING
               LITIGATION

  Motion of plaintiff Arlie Tucker to transfer the following actions to the United States District
Court for the Eastern District of Pennsylvania or, in the alternative, the United States District
Court for the Western District of Missouri:

               Southern District of California

      MOORE, JR. v. BPS DIRECT, LLC, C.A. No. 3:22−01951

               District of Massachusetts

      MONTECALVO v. CABELA'S INC., C.A. No. 1:22−11837

               Western District of Missouri

      TUCKER v. BPS DIRECT, LLC, C.A. No. 6:22−03285

               Eastern District of Pennsylvania

      VONBERGEN v. BPS DIRECT, LLC, C.A. No. 2:22−04709

               Western District of Pennsylvania

      CORNELL v. BPS DIRECT, L.L.C., C.A. No. 1:23−00020
      CALVERT v. CABELA'S L.L.C., C.A. No. 2:22−01460

MDL No. 3075 − IN RE: PREPARED FOOD PHOTOS, INC., COPYRIGHT LITIGATION

    Motion of defendants MyPizza Technologies, Inc., and Angelos Pizza of Poughkeepsie, Inc.,
to transfer the following actions to the United States District Court for the Middle District of
Florida:

               Middle District of Florida

      PREPARED FOOD PHOTOS, INC. v. MOLA PIZZA, INC., ET AL.,
        C.A. No. 2:22−00829
      PREPARED FOOD PHOTOS, INC. v. ZEIN LLC, ET AL., C.A. No. 8:22−01924




                                                   -2-
            Case MDL No. 3010 Document 248 Filed 04/14/23 Page 6 of 14




               Southern District of Florida

      PREPARED FOOD PHOTOS, INC. v. ORIGINAL BIG TOMATO, LLC, ET AL.,
        C.A. No. 1:22−24195

               District of Maryland

      PREPARED FOOD PHOTOS, INC. v. THREE BROTHERS ITALIAN KITCHEN
        LTD., ET AL., C.A. No. 1:22−02119
      PREPARED FOOD PHOTOS, INC. v. N & K FOODS, INC., ET AL.,
        C.A. No. 1:22−03372

               Southern District of New York

      PREPARED FOOD PHOTOS, INC. v. TONYS PIZZA OF POUGHKEEPSIE, INC.,
        ET AL., C.A. No. 1:22−07160
      PREPARED FOOD PHOTOS, INC. v. BRAVO WEST PIZZA, LLC, ET AL.,
        C.A. No. 1:22−10951

MDL No. 3076 − IN RE: FTX CRYPTOCURRENCY EXCHANGE COLLAPSE
               LITIGATION

   Motion of plaintiffs Edwin Garrison, et al., to transfer the following actions to the United
States District Court for the Southern District of Florida:

               Northern District of California

      LAM v. BANKMAN-FRIED, C.A. No. 3:22−07336
      PIERCE v. BANKMAN-FRIED, ET AL., C.A. No. 3:22−07444
      HAWKINS v. BANKMAN-FRIED, ET AL., C.A. No. 3:22−07620
      JESSUP v. BANKMAN-FRIED, ET AL., C.A. No. 3:22−07666
      PAPADAKIS v. BANKMAN-FRIED, ET AL., C.A. No. 3:23−00024

               Southern District of Florida

      GARRISON v. BANKMAN-FRIED, ET AL., C.A. No. 1:22−23753
      PODALSKY, ET AL. v. BANKMAN-FRIED, ET AL., C.A. No. 1:22−23983
      NORRIS, ET AL. v. BRADY, ET AL., C.A. No. 1:23−20439




                                                    -3-
            Case MDL No. 3010 Document 248 Filed 04/14/23 Page 7 of 14



MDL No. 3077 − IN RE: VARSITY SPIRIT ATHLETE ABUSE LITIGATION

   Motion of plaintiffs Jane Doe 1, et al., to transfer the following actions to the United States
District Court for the Western District of Tennessee or, in the alternative, the United States
District Court for the Middle District of Florida:

               Central District of California

      E. M. v. VARSITY BRANDS, LLC, ET AL., C.A. No. 2:22−09410

               Middle District of Florida

      DOE 1 BY AND THROUGH HER MOTHER, MARY DOE v. VARSITY BRANDS,
        LLC, ET AL., C.A. No. 6:22−02146
      DOE 2 BY AND THROUGH HER MOTHER, MARY DOE v. VARSITY BRANDS,
        LLC, ET AL., C.A. No. 6:22−02147
      DOE 3 BY AND THROUGH HER FATHER, JOSEPH DOE v. VARSITY BRANDS,
        LLC, ET AL., C.A. No. 6:22−02149

               Northern District of Georgia

      DOE 1 v. VARSITY BRANDS, LLC, ET AL., C.A. No. 1:22−04489

               Eastern District of North Carolina

      DOE v. VARSITY BRANDS, LLC, ET AL., C.A. No. 5:22−00430

               Northern District of Ohio

      DOE 1 v. VARSITY BRANDS, LLC, ET AL., C.A. No. 1:22−02139

               District of South Carolina

      DOE 1, ET AL. v. VARSITY BRANDS, LLC, ET AL., C.A. No. 6:22−02957
      DOE 8 v. VARSITY BRANDS, LLC, ET AL., C.A. No. 6:22−03508
      DOE 9 v. VARSITY BRANDS, LLC, ET AL., C.A. No. 6:22−03509
      DOE 3 v. VARSITY BRANDS, LLC, ET AL., C.A. No. 6:22−03510

               Western District of Tennessee

      DOE, AS NEXT FRIEND OF JOHN DOE 1, ET AL. v. VARSITY BRANDS, LLC,
        ET AL., C.A. No. 2:22−02657




                                                    -4-
            Case MDL No. 3010 Document 248 Filed 04/14/23 Page 8 of 14



MDL No. 3078 − IN RE: GENERAC SOLAR POWER SYSTEMS MARKETING, SALES
               PRACTICES AND PRODUCTS LIABILITY LITIGATION

  Motion of plaintiff Dustin Moon to transfer the following actions to the United States District
Court for the Northern District of California:

               Eastern District of California

      LOCATELL v. GENERAC POWER SYSTEMS, INC., ET AL., C.A. No. 2:23−00203

               Northern District of California

      MOON v. GENERAC POWER SYSTEMS, INC., ET AL., C.A. No. 3:22−09183

               Middle District of Florida

      HAAK v. GENERAC POWER SYSTEMS, INC., C.A. No. 8:22−02470

               Eastern District of Wisconsin

      BASLER, ET AL. v. GENERAC POWER SYSTEMS, INC., C.A. No. 2:22−01386
      DILLON v. GENERAC POWER SYSTEMS, INC., C.A. No. 2:23−00034

MDL No. 3079 − IN RE: TEPEZZA MARKETING, SALES PRACTICES, AND
               PRODUCTS LIABILITY LITIGATION

   Motion of plaintiff Kimberly Exton to transfer the following actions to the United States
District Court for the Northern District of California:

               Northern District of California

      LUKOWSKI v. HORIZON THERAPEUTICS USA, INC., C.A. No. 5:23−01159

               Middle District of Georgia

      SIMPSON v. HORIZON THERAPEUTICS USA, INC., C.A. No. 4:23−00055

               Northern District of Illinois

      WEIBEL v. HORIZON PHARMACEUTICALS USA, INC., C.A. No. 1:22−04518
      NETHERY v. HORIZON PHARMACEUTICALS, INC., C.A. No. 1:22−05005
      WALKER v. HORIZON THERAPEUTICS USA, INC., C.A. No. 1:22−06375
      PLEDGER v. HORIZON THERAPEUTICS USA, INC., C.A. No. 1:22−06562
      PEREZ v. HORIZON THERAPEUTICS USA, INC., C.A. No. 1:22−06718




                                                   -5-
    Case MDL No. 3010 Document 248 Filed 04/14/23 Page 9 of 14



SNYDER v. HORIZON THERAPEUTICS USA, INC., C.A. No. 1:22−06747
INGRAM v. HORIZON THERAPEUTICS USA, INC., C.A. No. 1:22−06836
LEEDS v. HORIZON THERAPEUTICS USA, INC., C.A. No. 1:22−06837
WILLIAMS v. HORIZON THERAPEUTICS USA, INC., C.A. No. 1:22−06838
LUCCI v. HORIZON THERAPEUTICS USA, INC., C.A. No. 1:22−07351
KRONE v. HORIZON THERAPEUTICS USA, INC., C.A. No. 1:23−00069
SCOTT v. HORIZON THERAPEUTICS USA, INC., C.A. No. 1:23−00803
FISHER v. HORIZON THERAPEUTICS USA, INC., C.A. No. 1:23−00805
DIAZ v. HORIZON THERAPEUTICS USA, INC., C.A. No. 1:23−00896

       Northern District of New York

EXTON v. HORIZON THERAPEUTICS USA, INC., C.A. No. 6:23−00282

       Western District of Washington

KANESTA-RYCHNER v. HORIZON THERAPEUTICS USA, INC.,
  C.A. No. 3:23−05221




                                        -6-
           Case MDL No. 3010 Document 248 Filed 04/14/23 Page 10 of 14




                           SECTION B
  MATTERS DESIGNATED FOR CONSIDERATION WITHOUT ORAL ARGUMENT



MDL No. 2816 − IN RE: SORIN 3T HEATER−COOLER SYSTEM PRODUCTS
                LIABILITY LITIGATION (NO. II)

   Opposition of plaintiffs Charles Yerkey, et al., to transfer of the following action to the United
States District Court for the Middle District of Pennsylvania:

                  Northern District of Ohio

      YERKEY, ET AL. v. SORIN GROUP DEUTSCHLAND GMBH, ET AL.,
        C.A. No. 1:23−00532

MDL No. 2873 − IN RE: AQUEOUS FILM−FORMING FOAMS PRODUCTS LIABILITY
               LITIGATION

    Motions of defendants E. I. du Pont de Nemours and Company; The Chemours Company; The
Chemours Company FC, LLC; and 3M Company to transfer of their respective following actions
to the United States District Court for the District of South Carolina:

               Central District of California

      BROY, ET AL. v. 3M COMPANY, ET AL., C.A. No. 5:23−00194
      CITY OF CORONA, ET AL. v. 3M COMPANY, ET AL., C.A. No. 5:23−00208

               Northern District of Illinois

      PEOPLE OF THE STATE OF ILLINOIS v. 3M COMPANY, ET AL.,
        C.A. No. 1:23−01341

               Eastern District of North Carolina

      AQUA NORTH CAROLINA, INC. v. DOWDUPONT, INC., ET AL.,
        C.A. No. 7:23−00016




                                                    -7-
           Case MDL No. 3010 Document 248 Filed 04/14/23 Page 11 of 14



MDL No. 2915 − IN RE: CAPITAL ONE CONSUMER DATA SECURITY BREACH
               LITIGATION

   Motion of defendant Capital One, N.A., to transfer the following action to the United States
District Court for the Eastern District of Virginia:

               Central District of California

      AGUIRRE, ET AL. v. CAPITAL ONE BANK USA N.A., ET AL., C.A. No. 8:23−00128

MDL No. 2924 − IN RE: ZANTAC (RANITIDINE) PRODUCTS LIABILITY
               LITIGATION

   Oppositions of plaintiff Maurice Edward Hughley and defendant University Medical Center,
Inc., to transfer of the Hughley action to the United States District Court for the Southern District
of Florida and motion of plaintiff James Martin for remand, pursuant to 28 U.S.C. § 1407(a), of
the Martin action to the United States District Court for the Southern District of Indiana:

               Southern District of Florida

      MARTIN v. BOEHRINGER INGELHEIM PHARMACEUTICALS, INC., ET AL.,
       C.A. No. 9:20−80480 (S.D. Indiana, C.A. No. 1:20−00449)

               Western District of Kentucky

      HUGHLEY v. UNIVERSITY OF LOUISVILLE−MEDICAL CENTER, ET AL.,
        C.A. No. 3:22−00268

MDL No. 2936 − IN RE: SMITTY'S/CAM2 303 TRACTOR HYDRAULIC FLUID
               MARKETING, SALES PRACTICES AND PRODUCTS LIABILITY
               LITIGATION

   Motion of plaintiff Nationwide Agribusiness Insurance Company for remand, pursuant to 28
U.S.C. §1407(a), of the following action to the United States District Court for the Eastern
District of Louisiana:

               Western District of Missouri

      NATIONWIDE AGRIBUSINESS INSURANCE COMPANY v. SMITTY'S SUPPLY,
        INC., ET AL., C.A. No. 4:21−00072 (E.D. Louisiana, C.A. No. 2:20−02892)




                                                    -8-
           Case MDL No. 3010 Document 248 Filed 04/14/23 Page 12 of 14



MDL No. 3010 − IN RE: GOOGLE DIGITAL ADVERTISING ANTITRUST
               LITIGATION

   Motion of plaintiffs The State of Texas, et al., for remand, pursuant to 28 U.S.C. § 1407(a), of
the following action to the United States District Court for the Eastern District of Texas:

               Southern District of New York

      THE STATE OF TEXAS, ET AL. v. GOOGLE, LLC, C.A. No. 1:21−6841 (E.D. Texas,
        C.A. No. 4:20−00957)

MDL No. 3014 − IN RE: PHILIPS RECALLED CPAP, BI−LEVEL PAP, AND
               MECHANICAL VENTILATOR PRODUCTS LIABILITY LITIGATION

   Motion of defendants Philips RS North America LLC and Philips North America LLC to
transfer the following action the United States District Court for the Western District of
Pennsylvania:

               District of New Mexico

      ROBERTS v. PHILIPS RESPIRONICS, INC., ET AL., C.A. No. 1:23−00201

MDL No. 3037 − IN RE: RECALLED ABBOTT INFANT FORMULA PRODUCTS
               LIABILITY LITIGATION

  Opposition of plaintiffs Deborah M. Rossick, et al., to transfer of the following action to the
United States District Court for the Northern District of Illinois:

               Middle District of Florida

      ROSSICK, ET AL. v. ABBOTT LABORATORIES, INC., ET AL., C.A. No. 8:23−00332

MDL No. 3044 − IN RE: EXACTECH POLYETHYLENE ORTHOPEDIC PRODUCTS
               LIABILITY LITIGATION

   Opposition of plaintiffs Laura Grandis, et al., to transfer of the following action to the United
States District Court for the Eastern District of New York:

               Northern District of Ohio

      GRANDIS, ET AL. v. EXACTECH, US, INC., ET AL., C.A. No. 5:23−00274




                                                    -9-
           Case MDL No. 3010 Document 248 Filed 04/14/23 Page 13 of 14



MDL No. 3047 − IN RE: SOCIAL MEDIA ADOLESCENT ADDICTION/PERSONAL
               INJURY PRODUCTS LIABILITY LITIGATION

   Opposition of plaintiffs V.V., et al., to transfer of the following action to the United States
District Court for the Northern District of California:

               District of Connecticut

      V., ET AL. v. META PLATFORMS, INC., ET AL., C.A. No. 3:23−00284

MDL No. 3052 − IN RE: KIA HYUNDAI VEHICLE THEFT MARKETING, SALES
               PRACTICES, AND PRODUCTS LIABILITY LITIGATION

   Oppositions of defendants Kia America, Inc.; Hyundai Motor America; and Hyundai America
Technical Center, Inc., to transfer of their respective following actions to the United States
District Court for the Central District of California:

               Southern District of Ohio

      CITY OF COLUMBUS, OHIO v. KIA AMERICA, INC., ET AL., C.A. No. 2:23−00654

               Western District of Washington

      CITY OF SEATTLE v. HYUNDAI MOTOR AMERICA, INC., ET AL.,
        C.A. No. 2:23−00098

               Eastern District of Wisconsin

      CITY OF MILWAUKEE v. HYUNDAI MOTOR AMERICA, ET AL.,
        C.A. No. 2:23−00376




                                                    -10-
           Case MDL No. 3010 Document 248 Filed 04/14/23 Page 14 of 14



RULE 11.1: HEARING SESSIONS AND ORAL ARGUMENT

      (a) Schedule. The Panel shall schedule sessions for oral argument and consideration of
other matters as desirable or necessary. The Chair shall determine the time, place and agenda for
each hearing session. The Clerk of the Panel shall give appropriate notice to counsel for all
parties. The Panel may continue its consideration of any scheduled matters.

       (b) Oral Argument Statement. Any party affected by a motion may file a separate
statement setting forth reasons why oral argument should, or need not, be heard. Such statements
shall be captioned "Reasons Why Oral Argument Should [Need Not] Be Heard" and shall be
limited to 2 pages.

             (i) The parties affected by a motion to transfer may agree to waive oral argument. The
Panel will take this into consideration in determining the need for oral argument.

       (c) Hearing Session. The Panel shall not consider transfer or remand of any action
pending in a federal district court when any party timely opposes such transfer or remand without
first holding a hearing session for the presentation of oral argument. The Panel may dispense with
oral argument if it determines that:

            (i) the dispositive issue(s) have been authoritatively decided; or

             (ii) the facts and legal arguments are adequately presented and oral argument would
not significantly aid the decisional process. Unless otherwise ordered, the Panel shall consider all
other matters, such as a motion for reconsideration, upon the basis of the pleadings.

      (d) Notification of Oral Argument. The Panel shall promptly notify counsel of those
matters in which oral argument is scheduled, as well as those matters that the Panel will consider
on the pleadings. The Clerk of the Panel shall require counsel to file and serve notice of their
intent to either make or waive oral argument. Failure to do so shall be deemed a waiver of oral
argument. If counsel does not attend oral argument, the matter shall not be rescheduled and that
party's position shall be treated as submitted for decision on the basis of the pleadings filed.

         (i) Absent Panel approval and for good cause shown, only those parties to actions who
have filed a motion or written response to a motion or order shall be permitted to present oral
argument.

         (ii) The Panel will not receive oral testimony except upon notice, motion and an order
expressly providing for it.

       (e) Duty to Confer. Counsel in an action set for oral argument shall confer separately
prior to that argument for the purpose of organizing their arguments and selecting representatives
to present all views without duplication. Oral argument is a means for counsel to emphasize the
key points of their arguments, and to update the Panel on any events since the conclusion of
briefing.

       (f) Time Limit for Oral Argument. Barring exceptional circumstances, the Panel shall
allot a maximum of 20 minutes for oral argument in each matter. The time shall be divided among
those with varying viewpoints. Counsel for the moving party or parties shall generally be heard
first.
